Case 2:05-cr-20013-.]DB Document 28 Filed 06/09/05 Page 1 of 2 PagelD 32

 

IN THE UN|TED STATES DlSTR|CT COURT F"'ED BT n "

i=oR THE wEsTERN DlsTRlcT oF TENNEssEE ,
wEsTERN olvisloN 95 "UN "`9 m H' 03

ROEE¥%T FE. 533 `l`;'%`(.`)f..lO

view we mem cT

 

W.o. or 'rw, ylst/werle
UN|TED STATES OF A|VIER|CA
Plaintiff,
VS. CR. NO. 05-20013-B

M|CHAEL CASEY
Defendant.

‘-_/‘-_l\-._d\_¢\~._z'-_d-._/‘~._/'~_/

 

ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came on to be heard on June 9, 2005, the United States Attorney forthis
district, Dan Newsom, appearing for the Government and the defendant, l\/lichael Casey,
appearing in person and With counse|, Apri| Goode, Who represented the defendant

With leave of the Court, the defendant Withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for TUESDAY, SEPTEMBER 13, 2005, at
1:30 P.M., before Judge J. Daniel Breen.

Defendant is remanded to the custody of the U. S. l\/|arsha|.

ct
ENTERED this the 1 day Of Juhe, 2005.

 

. D NIEL BREEN \
Nl ED STATES DlSTR|CT COURT

lien e
d ument entered onthe docket heetln coan
Thls oc d
With Rule 55 and/0r32(b)FRCrP on § l Q 05

 

T -WE

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-200]3 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

